Case 1:20-cv-02405-EGS Document 90-12 Filed 11/05/20 Page 1 of 10

 

Operational Clean Sweep Search Checklist — Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This
list includes the minimal areas to check and is not limited to these areas within the facility.
Checklist must be retained by the District Political and Election Mail Operations Coordinator.
Information is for investigating possible missing or delayed Political and/or Election mail.

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District! A244 SIRO

 

 

 

 

 

 

Office: LIF LP #DE

Auditor: CAH, A AOBERLf | SA MA FRI IG

Title: Os Ss ,

Phone: BIS - JU9 AM B

Check Box |Section/Operation: Comments:

Once task is| Defines the work area to be Specifics: Include copies of PMOD label and/or
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Incoming Dock

 

BMEU and BMEU Plant Staging

 

Opening Units

 

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Outbound Dock

 

Outgoing Dispatch Area

 

Trailers in yard (Yard Check)

 

 

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Case 1:20-cv-02405-EGS Document 90-12 Filed 11/05/20 Page 2 of 10

 

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Title: DES 7
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Case 1:20-cv-02405-EGS Document 90-12 Filed 11/05/20 Page 3 of 10

 

Operational Clean Sweep Search Checklist — Political and Election Mail

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District! 24009 /7EFRO

 

 

 

 

 

 

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Auditor: GLAS pS COLMBY WA AAA DA f= (UK Rd GS

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Case 1:20-cv-02405-EGS Document 90-12 Filed 11/05/20 Page 5 of 10

 

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Office: LLL LLF (ADC
Auditor: KV ABB SISTA ER

 

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Title: OES

Phone: BIB -TYG- HV

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Once task is|Defines the work area to be Specifics: Include copies of PMOD label and/or
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BMEU and BMEU Plant Staging

 

Opening Units

 

AO/Station dispatch area

 

Outbound Dock

 

Outgoing Dispatch Area

 

Trailers in yard (Yard Check)

 

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Office: Hit DC

Auditor: C22 ef NAVAL /Fdgady flail GMS

Title: QSS aa z

Phone: VG (P94 - HLS

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Once task is| Defines the work area to be Specifics: Include copies of PMOD label and/or
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Incoming Dock

 

BMEU and BMEU Plant Staging

 

Opening Units

 

AO/Station dispatch area

 

Outbound Dock

 

Outgoing Dispatch Area

 

Trailers in yard (Yard Check)

 

 

 

 

 

 

 

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Case 1:20-cv-02405-EGS Document 90-12 Filed 11/05/20 Page 7 of 10

 

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/l LE ABO District! AYvi9 /HETRO
Office: L424 (79 ODE
Auditor:

 

Bdly tit LeeRis5

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Title: O56

Phone: BIS-TA GD AL 1S

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Trailers in yard (Yard Check)

 

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View Facility Certificates

Search for a faci the current certificate list

Certify Mode |

2020-10-28

by finance number or location and v

 
  

Start Date:

End Date: 2020-11-04

© Facility Certification

Step #1 - Select Facility Type:
Delivery/Retail

© Processing Operations
Other Facility Types
COVID-19 Cleaning Sites

Step #2 - Search by Finance No., FDB, or ZIP Code:
4179650000

 

Step #3 - Drill Down to Facility:

Region:
Division:
ZIP Code:

Plant:

BE

EASTERN
CHESAPEAKE
19176

Philadelphia

 

 

 

Certificates: All Certificates
Status: Al = Show 7 wv entries
Status Region Division ZIP Code Piant Name Due Date Frequency Certificate Name
8 EASTERN CHESAPEAKE MPCO P 2020-10-31 DAILY Plant All Clear Political/Election/Yard Mail Certification
9 EASTERN CHESAPEAKE MPCO P Philadelphia 2020-10-30 DAILY Plant All Clear Political/Election/Yard Mail Certification
10 EASTERN CHESAPEAKE MPOO P Philadelphia 2020-10-29 DAILY Plant All Clear Political/Election,Yard Mail Certification
11 EASTERN CHESAPEAKE MPOO P Philadelphia 2020-10-28 DAILY Plant All Ciear Political/Election/Yard Mail Certification

 

 

Showing 8 to 11 of 11 entries

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20-cv-02405-EGS Document 90-12 Filed 11/05/20 Page 9 of 10

Case 1

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End Date: 2020-11-04

Start Date: 2020-10-28 Gi

Status: jal Show [7 entries

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Other Facility Types
COVID-19 Cleaning Sites

Division: CHESAPEAKE
ZIP Code: 19176
Step #2 — Search by Finance No., FDB, or ZIP Code:

4179650000 ce Plant: — Philadelphia

Certificates: All Certificates

 

 

Status Region Division ZIP Code Plant Name Due Date Frequency Certificate Name
1 EASTERN CHESAPEAKE MPOO P Philadelphia 2020-11-04 DAILY Late Arriving Political or Official Election Mail Certification
2 EASTERN CHESAPEAKE MPOO P Philadelphia 2020-11-04 DAILY Plant All Clear Political/Election/Yard Mail Certification
3 EASTERN CHESAPEAKE MPOO P Philadelphia 2020-11-03 ONCE Election Mail Ballot Delivery Certification
(Please respond by 10am local time, Tuesday 11/3)
4 EASTERN CHESAPEAKE MPOO P Philade'phia 2020-11-03 DAILY Plant All Clear Political/Election/Yard Mail Certification
5 EASTERN CHESAPEAKE MPOO P Philadelphia 2020-11-02 ONCE Election Mail Ballot Delivery Certification
(Please respond by 10am local time, Monday 11/2)
6 EASTERN CHESAPEAKE MPOO P Philadelphia 2020-11-02 DAILY Plant All Clear Political/Election/Yard Mail Certification
7 EASTERN CHESAPEAKE MPOO P Philadelphia 2020-11-01 DAILY Plant All Clear Political/Election/Yard Mail Certification

 

 

Showing 1 to 7 of 11 entries

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20-cv-02405-EGS Document 90-12 Filed 11/05/20 Page 10 of 10

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View Facility Certificates

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Other Facility Types
COVID-19 Cleaning Sites

ci ZIP Code: 19176

5 Division: © CHESAPEAKE
Start Date: 2020-10-28

End Date: 2020-11-04 Step #2 — Search by Finance No., FDB, or ZIP Code:

4179650000 re Plant: Philadelphia

Certificates: All Certificates

Status: jal Show 7 entries

 

 

Status Region Division ZIP Code Plant Name Due Date Frequency Certificate Name
1 EASTERN CHESAPEAKE MPOO P Philadeiphia 2020-11-04 DAILY Late Arriving Political or Official Election Mail Certification
2 EASTERN CHESAPEAKE MPOO P Philadelphia 2020-11-04 DAILY Plant All Clear Political/Election/Yard Mail Certification
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7 EASTERN CHESAPEAKE MPOO P Philadelphia 2020-11-01 DAILY Plant All Clear Political/Election/Yard Mail Certification

 

 

Showing 1 to 7 of 11 entries

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